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   EXHIBIT “N”
           Case 2:22-cv-00688-JMY Document 167-15 Filed 05/28/24 Page 2 of 7


  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Fwd: Zekaria Deposition 5/28/24
   Date: May 15, 2024 at 9:26 AM
     To: Patrick Healey phealey@rebarkelly.com
         kditomaso@lightmanlaw.com



      SETTLEMENT COMMUNICATION

      Patrick,

      Notwithstanding our below email to you, and as we previously
      informed you, we do NOT wish to put you personally in an untenable
      position, vis-a-vis your representation of the Zekaria Defendants and
      your pending Motion to Withdraw (returnable on 6/13).

      SO, if you (1) produce the February 2022 retainer/escrow agreement
      for us by Friday, and (2) give us firm dates between June 14-30 when
      Zekaria is available to be deposed, then we will agree to re-schedule
      the 5/28 deposition to one of those June dates.

      pls lmk

      thx
      Gary Lightman
      cell 215-760-3000

      PS, Zekaria should be searching for replacement counsel, now — is
      she looking for replacement counsel? Does she need some names of
      potential replacement attorneys? pls lmk thx

        Begin forwarded message:

        From: GARY LIGHTMAN <garylightman@lightmanlaw.com>
        Subject: Re: Zekaria Deposition 5/28/24
        Date: May 15, 2024 at 9:17:14 AM EDT
        To: Patrick Healey <phealey@rebarkelly.com>
        Cc: "Laver, Seth L." <slaver@goldbergsegalla.com>, Joseph Ross
        <jross@goldbergsegalla.com>, Gary Weiss
        <wgary4109@gmail.com>, sam gross
        <charltonholdinggroupllc@aol.com>, Sam Gross
        <Scg1212@gmail.com>, Kim DiTomaso
  Case 2:22-cv-00688-JMY Document 167-15 Filed 05/28/24 Page 3 of 7


<Scg1212@gmail.com>, Kim DiTomaso
<kditomaso@lightmanlaw.com>, Glenn Manochi
<gmanochi@lightmanlaw.com>, Cathleen Kelly Rebar
<crebar@rebarkelly.com>, Kathy Ciesielka
<kciesielka@rebarkelly.com>, Michael Rebar
<mrebar@rebarkelly.com>, GARY LIGHTMAN <ltag8r@me.com>

Patrick,

In response to your below email:

You have continually failed to provide us with a date for Zekaria’s
deposition, despite repeated requests for you to give us available
dates, forcing us to select the 5/14 deposition date on our own. And
there is nothing improper in continuing with the lawsuit,
notwithstanding your Motion to Withdraw. And you did just
unilaterally fail to produce Zekaria for her deposition as properly
scheduled on May 14, pursuant to the Rules of Court.

We have properly re-scheduled the Zekaria deposition for May 28,
pursuant to the Rules of Court. If you want to move the 5/28 date of
Zekaria’'s deposition, then (1) please tell us why Zekaria is not
available on 5/28, and (2) let us know which of the following dates
work for her deposition: May 22, 23, 24, 30. Otherwise, we intend to
move forward with the Zekaria deposition on 5/28 as scheduled,
absent a Court Order to the contrary.

Please be guided accordingly.

thx
Gary Lightman
cell 215-760-3000

cc: all counsel/parties


 On May 15, 2024, at 8:00 AM, Patrick Healey
 <phealey@rebarkelly.com> wrote:
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Gary:

Just to correct the misstatement that you have made. The Zekaria
Defendants did not "fail to appear" for depositions on May 14, 2024.
We had informed you on May 6, 2024 that we were unavailable for
a for a deposition on May 14. Just because you unilaterally pick
dates for depositions does not mean that others are necessarily
available. We are also not available on May 28 for a deposition.
Again, as we stated before, it is improper for you to schedule the
depositions of the Zekaria defendants while our Motion to withdraw
is pending and is scheduled for a hearing.

Pat Healey



Patrick J. Healey
Partner
256 West 36th Street
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NEW JERSEY
Park 80 West - Plaza II
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Park 80 West - Plaza II
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Stamford, CT 06901
203.564.1971 | eFax: 888.761.8299

OHIO
4200 Regent Street, Suite 200
Columbus, OH 43219
614.245.2141 | eFax: 888.761.8299



-----Original Message-----
From: Gary Lightman <garylightman@lightmanlaw.com>
Sent: Wednesday, May 15, 2024 12:03 AM
To: Patrick Healey <phealey@rebarkelly.com>
Cc: Laver, Seth L. <slaver@goldbergsegalla.com>; Joseph Ross
<jross@goldbergsegalla.com>; Gary Weiss
<wgary4109@gmail.com>; sam gross
<charltonholdinggroupllc@aol.com>; Sam Gross
<Scg1212@gmail.com>; K. DiTomaso
<kditomaso@lightmanlaw.com>; G. Manochi
<gmanochi@lightmanlaw.com>; GARY LIGHTMAN
<ltag8r@me.com>
Subject: Zekaria Deposition 5/28/24

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Do not click links or open attachments unless you recognize the
sender and know the content is safe.

We are pleased to announce that our New York office has relocated,
and therefore our address has changed.

Please note, our New York office address is now:

256 West 36th Street
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 256 West 36th Street
 Suite 900
 New York, NY 10018



—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
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